Case 18-42977        Doc 30     Filed 05/14/19     Entered 05/14/19 07:50:16        Main Document
                                                 Pg 1 of 6


                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 IN RE:                                                  )
                                                         )
 Janet Lee Gregory                                       )       Case # 18-42977-659
                                                         )       Chapter 7
                                                         )
                  Debtor                                 )




   ORDER GRANTING TRUSTEE’S MOTION TO APPROVE (I) A SHORT SALE OF
     REAL PROPERTY FREE AND CLEAR OF LIENS, ENCUMBRANCES, AND
    INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
       AGREEMENT BETWEEN SECURED CREDITOR AND THE ESTATE,
                        AND (III ) OTHER RELIEF
               (10551 KAMPING LN SAINT LOUIS, MO 63123)


          THIS CASE came before the Court to consider Chapter 7 Trustee, Tracy Brown’s
 (“Trustee”) Motion to (I) Approve a Short Sale of Real Property Free and Clear of Liens, Claims,
 Encumbrances, and Interests pursuant to 11 U.S.C. Section 363 (b), (f) and (m), (II) Surcharge
 Agreement Between Secured Creditor and the Estate and (III) Other Relief, (the “Motion”) (Dkt.
 No. 24). The Motion was served upon all interested parties informing the parties of their
 opportunity to respond within 21 days of the date of service; no party filed a response within the
 time permitted; and the Court therefore considers the Motion unopposed. Accordingly, it is:

          IT IS THEREFORE ORDERED and ADJUDGED as follows:

          1.      The notice of the Motion is approved as proper and adequate under the
 circumstances.

          2.      The Motion is GRANTED in all respects.

          3.      The Trustee is authorized to sell the real property located at:
Case 18-42977       Doc 30     Filed 05/14/19       Entered 05/14/19 07:50:16        Main Document
                                                  Pg 2 of 6


        LOT 7 OF TWIN HOLLOW, A SUBDIVISION IN ST. LOUIS COUNTY, MISSOURI,
        ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT BOOK 80 PAGE 4 OF
        THE ST. LOUIS COUNTY RECORDS.

 more commonly known as, 10551 KAMPING LN SAINT LOUIS, MO 63123 (the “Real

 Property”), for the price of $108,097.00, conditioned on the consent of its lienholder(s), and in

 accordance with the terms provided for in the Motion.

        4.      The Trustee is authorized to pay the first position secured mortgage creditor, U.S.

 Bank Home Mortgage, and the second position secured mortgage creditor (collectively “Secured

 Creditor(s)”), the full amount of their liens as of the date of closing or other amount agreeable to

 the Secured Creditor(s) to release their lien.

        5.      The Trustee is authorized to take any and all actions and to execute any and all

 documents necessary and appropriate to effectuate and consummate the terms of said sale,

 including, executing a Trustee’s Deed conveying the interests of the Debtor and the bankruptcy

 estate in the Real Property to F and P Property, LLC (the “Buyer”).

        6.      Pursuant to Section 363(f) of the Bankruptcy Code, effective upon closing, the

 sale of the Real Property will vest in the Buyer all right, title and interest of the Debtor and the

 bankruptcy estate in the Real Property, free and clear of the liens, claims or interests listed below

 (collectively, the “Affected Interests”):




                        1. Janet L. Gregory, Debtor, name on deed

                        2. U.S. Bank Home Mortgage, as first mortgage

                            lienholder
Case 18-42977       Doc 30     Filed 05/14/19     Entered 05/14/19 07:50:16        Main Document
                                                Pg 3 of 6


                        3. U.S. Bank Home Mortgage, as second mortgage

                           lienholder




        7.      This Order is and shall be effective as a determination that, upon and subject to the

 occurrence of the closing of the sale, all Affected Interests have been and hereby are adjudged and

 declared to be unconditionally released as to the Real Property.

        8.      The Buyer has not assumed any liabilities of the Debtor.

        9.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

 authorized to make such disbursements on or after the closing of the sale as are required by the

 purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

 property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

 respect to the real property included among the purchased assets; and (b) other anticipated

 closing costs (estimated below):

        Total Sales/Brokers Commission of 6% total:

        2% to American Realty Group                                   $2,161.00

        2% to American Realty Group                                   $2,161.00

        2% to BK Global Real Estate Services                          $2,161.00

        Other / Debits:                                               $ 5,404.00

        506(c) surcharge to Tracy A. Brown, Trustee for the bankruptcy estate of Janet L.

 Gregory
Case 18-42977        Doc 30        Filed 05/14/19     Entered 05/14/19 07:50:16    Main Document
                                                    Pg 4 of 6


          Satisfaction of Liens:

          1st mortgage loan-US Bank Home Mortgage (home mortgage servicer)            $91,549.92

          2nd mortgage loan-US Bank Home Mortgage                                     $2,845.02




 Without further order of the court, the Trustee is authorized to pay closing costs including fees and

 taxes required for the recording of all applicable documents so long as they are within industry

 standards.

          10.    Except as otherwise provided in the Motion, the Real Property shall be sold,

 transferred, and delivered to Buyer on an “as is, where is” or “with all faults” basis and without

 representations or warranties of any type, express or implied, being given by the Trustee and her

 professionals. Any personal property left on the Real Property shall be the responsibility of the

 Buyer.

          11.    Buyer is approved as a buyer in good faith in accordance with Section 363(m) of

 the Bankruptcy Code, and Buyer shall be entitled to all protections of Section 363(m) of the

 Bankruptcy Code.

          12.    This Court retains jurisdiction to enforce and implement the terms and provisions

 of this Order and the purchase agreement, all amendments thereto, any waivers and consents

 thereunder, and each of the documents executed in connection therewith in all respects, including

 retaining jurisdiction to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any

 disputes arising under or related to the purchase agreement, and (c) resolve any disputes

 regarding liens, claims, or interests asserted against the Real Property.
Case 18-42977      Doc 30    Filed 05/14/19     Entered 05/14/19 07:50:16       Main Document
                                              Pg 5 of 6


        13.    The purchase agreement and any related documents or other instruments may be

 modified, amended or supplemented by the parties thereto, in a writing signed by both parties

 without further order of the Court, provided that any such modification, amendment or

 supplement does not have a material adverse effect on the Debtor’s bankruptcy estate.



                                                           KATHY A. SURRATT-STATES
                                                          Chief United States Bankruptcy Judge
 DATED: May 14, 2019
 St. Louis, Missouri
 jjh




 Order prepared by:
 Gary L. Vincent
 Law Office of Tracy A. Brown
 1034 S. Brentwood Blvd, Suite 1830
 St. Louis, MO 63114

 Copies to:
 US Bank
 P.O. box 790084
 St. Louis, MO 63179

 US Bank Home Mortgage
 4801 Ferderica Street
 Owensboro, KY 42301

 US Bank
 P.O. Box 211128
 Egan, MN 55121-4201

 Janet Lee Gregory
 Debtor
 10551 Kamping Lane
 St. Louis, MO 63123
Case 18-42977      Doc 30      Filed 05/14/19     Entered 05/14/19 07:50:16   Main Document
                                                Pg 6 of 6


 BK Global
 1095 Broken Sound Pkwy. NW
 Suite 100
 Boca Raton, Florida 33487

 F and P Property LLC
 c/o Christy Adair Pauly
 Registered Agent
 1924 Gloria
 St. Louis, MO 63125

 Office of the United States Trustee
 111 S. 10th Street, Suite 6353
 St. Louis, MO 63102

 Randall T. Oettle
 ROC Law
 Attorney for Debtor
 12964 Tesson Ferry, Suite B
 St. Louis, MO 63128




                                         Page 6 of 6 Pages
